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                   Exhibit
                             1
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           Photo Title               Photographer                            Photograph

1   Anna_Kournikova_012.jpg         Stephan Wurth
                        Case 1:18-cv-03462-GLR Document 1-1 Filed 11/08/18 Page 3 of 27



          Photo Title               Photographer                            Photograph

2   3Y4O0063                        Damea Dorsey




                                                                                          Exhibit 1 Page 2
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          Photo Title               Photographer                            Photograph

3   3Y4O0102                        Damea Dorsey




                                                                                          Exhibit 1 Page 3
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          Photo Title               Photographer                            Photograph

4   680                             Damea Dorsey




5   3Y4O0125                        Damea Dorsey




                                                                                          Exhibit 1 Page 4
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          Photo Title               Photographer                            Photograph

6   DD_20081203_Hawaii_0690         Damea Dorsey




7   IMG_9688                        Zach Ramsey




                                                                                          Exhibit 1 Page 5
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           Photo Title               Photographer                            Photograph

8   AS01-005-001.jpg                  Joey Wright




                                                                                           Exhibit 1 Page 6
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           Photo Title               Photographer                            Photograph

9   AS01-005-003.jpg                  Joey Wright




                                                                                           Exhibit 1 Page 7
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            Photo Title               Photographer                            Photograph

10   AS01-005-004.jpg                  Joey Wright




                                                                                            Exhibit 1 Page 8
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            Photo Title               Photographer                            Photograph

11   AS01-005-005.jpg                  Joey Wright




                                                                                             Exhibit 1 Page 9
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            Photo Title               Photographer                            Photograph

12   AS01-005-007.jpg                  Joey Wright




                                                                                             Exhibit 1 Page 10
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            Photo Title               Photographer                            Photograph

13   AS01-005-009.jpg                  Joey Wright




                                                                                             Exhibit 1 Page 11
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            Photo Title               Photographer                            Photograph

14   AS01-005-010.jpg                  Joey Wright




                                                                                             Exhibit 1 Page 12
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            Photo Title               Photographer                            Photograph

15   AS01-005-011.jpg                  Joey Wright




16   AS01-005-012.jpg                  Joey Wright




                                                                                             Exhibit 1 Page 13
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            Photo Title               Photographer                            Photograph

17   AS01-005-013.jpg                  Joey Wright




                                                                                             Exhibit 1 Page 14
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            Photo Title               Photographer                            Photograph

18   AS01-005-014.jpg                  Joey Wright




                                                                                             Exhibit 1 Page 15
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             Photo Title               Photographer                            Photograph

19   rooke_Burke_(7).jpg               Willy Camden




                                                                                              Exhibit 1 Page 16
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             Photo Title               Photographer                            Photograph

20   Carmen_Electra_(31).jpg           Willy Camden




                                                                                              Exhibit 1 Page 17
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             Photo Title               Photographer                            Photograph

21   Carmen_Electra_(33).jpg           Willy Camden




                                                                                              Exhibit 1 Page 18
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            Photo Title               Photographer                            Photograph

22   CL-MK-12001015.jpg              Christopher Lane




                                                                                             Exhibit 1 Page 19
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           Photo Title               Photographer                            Photograph

23   CLOSE_G.jpg                     Willy Camden




                                                                                            Exhibit 1 Page 20
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            Photo Title               Photographer                            Photograph

24   image010.jpg                     Willy Camden




                                                                                             Exhibit 1 Page 21
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             Photo Title               Photographer                            Photograph

25   mila_7-0108.jpg                  Christopher Lane




                                                                                              Exhibit 1 Page 22
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            Photo Title               Photographer                            Photograph

26   Mila_Kunis_002.jpg              Christopher Lane




                                                                                             Exhibit 1 Page 23
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            Photo Title               Photographer                            Photograph

27   Mila_Kunis_006.jpg              Christopher Lane




                                                                                             Exhibit 1 Page 24
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            Photo Title               Photographer                            Photograph

28   Mila_Kunis_012.jpg              Christopher Lane




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            Photo Title               Photographer                            Photograph

29   Mila_Kunis_017.jpg              Christopher Lane




                                                                                             Exhibit 1 Page 26
